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 8                                 UNITED STATES DISTRICT COURT
 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES,                                    Case No. 2:12-CR-00025 MCE
12                   Plaintiff,                        AMENDED ORDER REGARDING
                                                       DISBURSEMENT OF FUNDS LODGED
13            v.                                       WITH REGISTRY OF THE COURT
14
     STANCIL ENTERPRISES, INC.,
15
                     Defendant.
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18            This Court has previously ordered disbursement of funds in this matter, which has not yet
19   occurred due to the nature of the corporate judgment and sentence in this case. For purposes of
20   clarifying disbursement of funds and sufficiently authorizing the Clerk of the Court to disburse
21   funds currently held in the Registry of Funds, the Court issues this Amended order.
22            On February 27, 2012, Stancil Enterprises, Inc., for purposes of paying the fine and
23   forfeiture to be imposed at sentencing, deposited funds sufficient to cover the amounts of fine and
24   forfeiture anticipated by the parties with the registry of the Court (the “Deposited Funds”). A
25   personal forfeiture money judgment in the amount of $428,589.30 and a criminal fine of
26   $500,000.00 has been imposed against defendant Stancil Enterprises, Inc.
27            For good cause previously shown, it is hereby ORDERED and ADJUDGED:
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 1          1.      The $5,173.45 in U.S. Currency seized from Wells Fargo Bank Account Number
 2   3444347300, by the Internal Revenue Service on or about November 19, 2009, and subject of the
 3   related case 2:10-MC-00046 MCE, shall be applied to the money judgment.
 4          2.      The remaining $423,415.85 of the money judgment shall be disbursed by the Clerk
 5   of the Court, plus any interest that has accrued on that amount, payable to the U.S. Department of
 6   Treasury and sent to the U.S. Attorney’s Office, Attn: Asset Forfeiture Unit, 501 I Street, Suite
 7   10-100, Sacramento, CA 95814. The Clerk of the Court shall waive any and all service fees on
 8   the $423,415.85. The $423,415.85 shall be seized and held by the U.S. Department of Treasury,
 9   in its secure custody and control.
10          3.      Any funds applied towards such judgment shall be forfeited to the United States of
11   America and disposed of as provided for by law.
12          4.      The Clerk of the Court shall credit the amount of $500,000 from the Deposited
13   Funds to the applicable account for payment of the fine, only.
14          5.      If there are any remaining Deposited Funds after payment of the forfeiture and the
15   fine, as herein ordered, they shall be disbursed to Stancil Enterprises, Inc. c/o its attorney Donald
16   H. Heller, A Law Corporation, 701 University Avenue, Suite 100, Sacramento, CA 95825.
17          IT IS SO ORDERED.
18   Dated: April 10, 2012
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20                                         MORRISON C. ENGLAND, JR.
                                           UNITED STATES DISTRICT JUDGE
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